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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )      8:05CR94
       vs.                                        )
                                                  )      PRELIMINARY ORDER
THOMAS WILSON,                                    )      OF FORFEITURE
                                                  )
                     Defendant.                   )

       This matter is before the Court on the United States' Motion for Issuance of

Preliminary Order of Forfeiture and Memorandum Brief (Filing No. 330). The Court reviews

the record in this case and, being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement, whereby he has agreed to

plead guilty to Count I of said Second Superseding Indictment. Count I of said Second

Superseding Indictment charges the Defendant with conspiracy to distribute

methamphetamine and cocaine, a violation of 21 U.S.C. § 846. Count II of said Second

Superseding Indictment charges the Defendant with using $5,600.00 in United States

currency to facilitate the commission of the conspiracy and charge said personal property

is derived from proceeds obtained directly or indirectly as a result of the commission of the

conspiracy.

       2. By virtue of said Plea Agreement, the parties have agreed $3,100.00 will be

returned to the Defendant through the trust account of his attorney of record; the remaining

$2,500.00 will be forfeited to the United States, and the United States should be entitled

to possession of said $2,500.00 pursuant to 21 U.S.C. § 853.
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       IT IS ORDERED:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture (Filing

No. 330) is hereby sustained.

       B. Based upon Count II of the Second Superseding Indictment and the Defendant’s

plea of guilty, the United States Marshal for the District of Nebraska ("Marshal") is hereby

ordered to return $3,100.00 to the Defendant through the trust account of his attorney of

record and seize forthwith the remaining $2,500.00 in United States currency.

       C. The Defendant’s interest in said $2,500.00 in United States currency is hereby

forfeited to the United States of America for disposition in accordance with the law, subject

to the provisions of 21 U.S.C. § 853(n)(1).

       D. The aforementioned forfeited property is to be held by the Marshal in his secure

custody and control.

       E. Pursuant to 21 U.S.C. § 853(n)(1), the Marshal forthwith shall publish at least

once for three successive weeks in a newspaper of general circulation, in the county where

the subject properties are situated, notice of this Order, notice of the Marshal's intent to

dispose of the properties in such manner as the Attorney General may direct, and notice

that any person, other than the Defendant, having or claiming a legal interest in any of the

subject forfeited properties must file a Petition with the court within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier.

       F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the

properties, shall be signed by the Petitioner under penalty of perjury, and shall set forth the



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nature and extent of the Petitioner's right, title or interest in the subject properties and any

additional facts supporting the Petitioner's claim and the relief sought.

       G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the properties subject to this

Order as a substitute for published notice as to those persons so notified.

       H. Upon adjudication of all third-party interests, this Court will enter a Final Order

of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

       DATED this 14th day of February, 2007.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge




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